                                                            Case 8:13-bk-06888-CED            Doc 187          Filed 10/08/21                  Page 1 of 10

                                                                                       Form 1
                                                                                                                                                                                                    Page: 1-1
                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:    8:13-bk-06888-CED                                                                                                       Trustee Name:        (290278) Christine L. Herendeen
Case Name:      ORGANIZED CONFUSION LLP                                                                                              Date Filed (f) or Converted (c): 05/24/2013 (f)
                                                                                                                                     § 341(a) Meeting Date:       06/24/2013
For Period Ending:     09/30/2021                                                                                                    Claims Bar Date: 09/23/2013

                                                    1                                         2                             3                            4                      5                          6

                                            Asset Description                              Petition/                Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                Unscheduled           (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                            Values                Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                              and Other Costs)                                                             Remaining Assets

    1*      Lot 26, Block 3693 of Port Charlotte Subdivision (See Footnote)                        Unknown                                0.00                                              0.00                        FA

    2       Various Causes of Action (u)                                                            1,000.00                         1,000.00                                               0.00                1,000.00

    3       Litigation - Synovus Bank (u)                                                         298,125.00                       298,125.00                                       298,125.00                          FA

    4*      Unclaimed Funds (u) (See Footnote)                                                      5,570.16                         5,570.16                                         5,570.16                          FA

    4       Assets               Totals       (Excluding unknown values)                       $304,695.16                       $304,695.16                                     $303,695.16                   $1,000.00


     RE PROP# 1            Foreclosure Sale by Lender; FJ at OR Book 3790, Pg 2187 in Charlotte County

     RE PROP# 4            Claim No. C8972512: 2 Claims: $2,691.22 and $2,878.94
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                                                                           Form 1
                                                                                                                                                                              Page: 1-2
                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case No.:    8:13-bk-06888-CED                                                                                          Trustee Name:      (290278) Christine L. Herendeen
Case Name:     ORGANIZED CONFUSION LLP                                                                                  Date Filed (f) or Converted (c): 05/24/2013 (f)
                                                                                                                        § 341(a) Meeting Date:   06/24/2013
For Period Ending:   09/30/2021                                                                                         Claims Bar Date: 09/23/2013


      Major Activities Affecting Case Closing:
                                  10/03/21: Appeal(s) pending decision: Regions: 8:14-ap-00653-CED & 8:15-ap-00118-CED (Lead ADV Pro.) various orders, including Orders Granting
                                  MSJ of Regions Bank & Orders Denying MSJ of Estate, appeal in MD FL, Tampa Div, Lead Case: 8:20-cv-02891-SDM.
                                  0509/16/21: Appeal status: No change, pending decision. 06/16/21: Appellant’s Reply Brief filed on behalf of the Bankruptcy Estate. 05/28/21:
                                  Appellee’s Brief filed on behalf of Regions Bank. 05/03/21: Order entered granting Regions filed Motion to Maintain Documents under Seal as Part of
                                  the Record on Appeal. 04/28/21: Appellant’s Brief filed on behalf of the Bankruptcy Estate. 04/28/21: Regions filed Motion to Maintain Documents
                                  under Seal as Part of the Record on Appeal. 04/21/21: District Court order entered in pending appeals granting Appellant’s motion seeking approval to
                                  submit court clerk’s transmission of pleadings, exhibits, and other papers, which the parties submitted under seal during the bankruptcy. Regions Bank
                                  must submit a motion to maintain the seal by no later than April 28, 2021. 04/16/21: Received FL unclaimed funds in Able Body Gulf Coast Inc. and
                                  Organized Confusion LLP cases. 02/08/21: Appellee Designation of Contents for Inclusion in Record of Appeal filed in all 16 cases. 01/11/21:
                                  Discovered unclaimed funds with State of FL. FL unclaimed funds applications submitted in Able Body Gulf Coast Inc. and Organized Confusion LLP
                                  cases. 01/06/20: Order Granting Motion to Extend Time (to Jan. 25th for Appellant). 12/30/20: Agreed Order Regarding Regions’ Motion to Tax Costs
                                  entered. (abated pending appeal). 12/15/20: Regions’ Motion to Tax Costs filed (Filed in ADV proc.). 12/10/20: Order Denying Motion for Rehearing
                                  of Order Denying Trustees Motion to Approve Compromise entered. 12/08/20: Order Granting Joint Motion for Enlargement of Time (to Jan. 18th for
                                  Appellant). 12/03/20: Notice of Appeal filed on behalf of Bankr. Estates. 12/01/20: Final Judgment in Favor of Defendant Regions Bank entered.
                                  11/19/20: Orders entered on all pending Motions, primarily, Motions for Summary Judgment granted in favor of Regions Bank and denied as to the
                                  various claims by the Estate. SEE PACER docket for details. 07/07/20: Court cancelled July 14th hearing, again taking all pending matters under
                                  advisement. 06/01/20 – 08/05/20: Various Replies, Responses, Motions, and Opposition filed in connection with the Motion for Adverse Inference or,
                                  Alternatively, to Preclude Regions from Offering Evidence in Support of Certain Defenses and Affirmative Defenses, and including a Motion to Strike
                                  Trustee Herendeen’s Jury Demand. 06/01/20: Agreed Order Setting Briefing Deadlines and Hearing Date on Trustee Herendeen's Motion for Adverse
                                  Inference or, Alternatively, to Preclude Regions from Offering Evidence in Support of Certain Defenses and Affirmative Defenses. 05/29/20: Joint
                                  Stipulation Regarding the Matters Scheduled For the June 12, 2020 Hearings filed. 05/27/20: Status Conference Held: Court will move all pending
                                  matters to the hearing set on 06/12/20 and will contact the parties for any further inquiry at the hearing date/time, if needed (before the July 14th final
                                  pre-trial conference). 5/22/20- 05/27/20: Various Replies, Responses, and Notices of Filing of transcripts filed in connection with the pending Motions
                                  for Summary Judgment, Motions to Exclude Expert Opinion Testimony, Requests to Take Judicial Notice, Motions to Strike, Motion for Adverse
                                  Inference or, alternatively, to Preclude Regions from Offering Evidence in Support of Certain Defenses and Affirmative Defenses and set for hearing on
                                  06/12/20. 04/20/20: Order entered granting Agreed Motion to Extend Deadlines and Re-Set Hearing Dates: Deadlines extended and hearings
                                  rescheduled. MSJ hearing rescheduled for 6/12/20 (also hrg on Daubert mtns and Req for Judicial Ntc); Final pre-trial status conference & Hrg on Jury
                                  Trial Issues rescheduled for 07/14/20. 03/30/20: Order entered granting Agreed Motion to Extend Deadlines and Re-Set Hearing Dates: Deadlines
                                  extended and hearings rescheduled to May 11th on request for judicial notice and June 10th on jury trial issues and final pretrial conference. 03/16/20:
                                  Reply to Regions Opposition to Motion for Rehearing. 03/09/20: Opposition/Response to Motion for Rehearing filed by Regions. 02/19/20: Motion for
                                  Rehearing of Order Denying Trustee's Motion to Approve Compromise with American Casualty Insurance Company of Reading, Pennsylvania and CNA
                                  Claims Plus, Inc. filed. 02/05/20: Order Denying Motion to Approve Compromise or Settlement Between Trustee, Christine L. Herendeen and
                                  American Casualty Insurance Company of Reading, Pennsylvania and CNA Claims Plus, Inc. entered. 01/07/20: Hearing held on compromise Mtn /
                                  Obj and Judge is taking it under advisement. 12/24/19: Request to Take Mandatory Judicial Notice filed by Plaintiff/Trustee. (Regions ADV)
                                  12/09/19: Order Granting Agreed Motion filed extending certain deadlines and hearings / conferences. (Regions ADV) 12/02/19: Plaintiff’s Motion for
                                  Partial Summary Judgment filed in connection with all 16 ADV proceedings v Regions and Regions Motions for Partial Summary Judgement (7 Motions)
                                  filed, as well as various pre-trial motions to exclude expert witness opinions/testimony and multiple papers filed under seal. (Regions ADV) 11/21/19:
                                  Regions Objection to the Motion to Approve Settlement/Compromise with American Casualty / CNA filed. 11/05/19: Order entered granting Plaintiff’s
                                  Motion to Reconsider and Vacate the Reference to a Nonjury Trial in Interlocutory Orders at Docket Numbers 130, 163, and 180. 11/01/19:
                                                 Case 8:13-bk-06888-CED                Doc 187       Filed 10/08/21        Page 3 of 10

                                                                           Form 1
                                                                                                                                                                          Page: 1-3
                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case No.:    8:13-bk-06888-CED                                                                                       Trustee Name:      (290278) Christine L. Herendeen
Case Name:     ORGANIZED CONFUSION LLP                                                                               Date Filed (f) or Converted (c): 05/24/2013 (f)
                                                                                                                     § 341(a) Meeting Date:   06/24/2013
For Period Ending:   09/30/2021                                                                                      Claims Bar Date: 09/23/2013

                                  Agreed order entered allowing disposition of the WC records at DL's home. 10/31/19: SC filed Motion to Approve Settlement/Compromise with
                                  American Casualty / CNA on claims.


                                  07/07/20: Court cancelled July 14th hearing, again taking all pending matters under advisement. 06/01/20 – 08/05/20: Various Replies, Responses,
                                  Motions, and Opposition filed in connection with the Motion for Adverse Inference or, Alternatively, to Preclude Regions from Offering Evidence in
                                  Support of Certain Defenses and Affirmative Defenses, and including a Motion to Strike Trustee Herendeen’s Jury Demand. 06/01/20: Agreed Order
                                  Setting Briefing Deadlines and Hearing Date on Trustee Herendeen's Motion for Adverse Inference or, Alternatively, to Preclude Regions from Offering
                                  Evidence in Support of Certain Defenses and Affirmative Defenses. 05/29/20: Joint Stipulation Regarding the Matters Scheduled For the June 12,
                                  2020 Hearings filed. 05/27/20: Status Conference Held: Court will move all pending matters to the hearing set on 06/12/20 and will contact the parties
                                  for any further inquiry at the hearing date/time, if needed (before the July 14th final pre-trial conference). 5/22/20- 05/27/20: Various Replies,
                                  Responses, and Notices of Filing of transcripts filed in connection with the pending Motions for Summary Judgment, Motions to Exclude Expert Opinion
                                  Testimony, Requests to Take Judicial Notice, Motions to Strike, Motion for Adverse Inference or, alternatively, to Preclude Regions from Offering
                                  Evidence in Support of Certain Defenses and Affirmative Defenses and set for hearing on 06/12/20. 04/20/20: Order entered granting Agreed Motion
                                  to Extend Deadlines and Re-Set Hearing Dates: Deadlines extended and hearings rescheduled. MSJ hearing rescheduled for 6/12/20 (also hrg on
                                  Daubert mtns and Req for Judicial Ntc); Final pre-trial status conference & Hrg on Jury Trial Issues rescheduled for 07/14/20. 03/30/20: Order entered
                                  granting Agreed Motion to Extend Deadlines and Re-Set Hearing Dates: Deadlines extended and hearings rescheduled to May 11th on request for
                                  judicial notice and June 10th on jury trial issues and final pretrial conference. 03/16/20: Reply to Regions Opposition to Motion for Rehearing.
                                  03/09/20: Opposition/Response to Motion for Rehearing filed by Regions. 02/20/20: Motion for Rehearing of Order Denying Trustee's Motion to
                                  Approve Compromise with American Casualty Insurance Company of Reading, Pennsylvania and CNA Claims Plus, Inc. filed. 02/06/20: Order
                                  Denying Motion to Approve Compromise or Settlement Between Trustee, Christine L. Herendeen and American Casualty Insurance Company of
                                  Reading, Pennsylvania and CNA Claims Plus, Inc. entered. 01/07/20: Hearing held on compromise Mtn / Obj and Judge is taking it under advisement.
                                  11/21/19: Regions Objection to the Motion to Approve Settlement/Compromise with American Casualty / CNA filed. 11/05/19: Order entered granting
                                  Plaintiff’s Motion to Reconsider and Vacate the Reference to a Nonjury Trial in Interlocutory Orders at Docket Numbers 130, 163, and 180. 11/01/19:
                                  Agreed order entered allowing disposition of the WC records at DL's home. 10/31/19: SC filed Motion to Approve Settlement/Compromise with
                                  American Casualty / CNA on claims.

                                  10/02/19: Case management and Scheduling Order entered. 09/25/19: Order entered re. use of certain depos and Mtn for Rehrgon Mtn for Protective
                                  order re bene esse depos. 08/13/19: SC filed Motion for Reconsideration and to Vacate the Reference to a Nonjury Trial in Interlocutory Orders filed.
                                  08/02/19: SC filed Mtn re use of certain depos and rehg on mtn for protective order re bene esse depos. 07/22/19: Order Granting in Part and
                                  Denying in Part Motion For Protective Order To Prohibit Or Delay Trustee Herendeens July 10 De Bene Esse Depositions entered. 07/22/19: Motion
                                  for Protective Order To Prohibit Or Delay Trustee Herendeen's July 10 De Bene Esse Depositions filed by opposing counsel. 05/07/19: Order Granting
                                  In Part Trustee Herendeens Second Omnibus Motion to Compel Regions Bank to Provide Better Answers to Second Set of Interrogatories Served on
                                  July 24, 2018 entered. 06/04/19: Order Granting Motion To Pay Ghiglieri & Company Additional Invoices as Banking Law Expert and Litigation
                                  Consultant (approved through trial based on budget attached to motion). 04/22/19: SC filed Second Motion to Compel Regions Bank to Provide Better
                                  Answers to Second Set of Interrogatories. 03/13/19: Amended Answer to Amended Complaint and Affirmative Defenses filed by Regions. 02/25/19:
                                  Order Granting in Part Motion To Compel Regions Bank to Provide Better Answers to Plaintiffs Second Set of Interrogatories and Order Denying Motion
                                  to Strike or Dismiss Regions' Counterclaim and Affirmative Defenses entered. 02/12/19: Agreed Order Granting Motion To Amend Training U, LLC's
                                  Complaint. 01/22/19: Mediator's Report and Notice of Inability to Reach an Agreement in Mediation Filed by Mediator Honorable Michael G.
                                  Williamson, Judicial Mediator. 01/04/19: SC filed Motion to Amend (Motion for Leave to Amend Training U, LLC's Complaint). 11/28/18: Notice of
                                  Service of Regions Bank's Rebuttal Expert Report filed by Regions. 11/20/18: Order Granting Trustee Herendeen's Motion for Leave to Amend
                                  Complaints in the SJ Debtors Cases entered. 11/20/18: Orders entered approving Motion/Application to Pay Banking Expert / Ghiglieri & Company.
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                                                                             Form 1
                                                                                                                                                                              Page: 1-4
                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case No.:    8:13-bk-06888-CED                                                                                        Trustee Name:      (290278) Christine L. Herendeen
Case Name:     ORGANIZED CONFUSION LLP                                                                                Date Filed (f) or Converted (c): 05/24/2013 (f)
                                                                                                                      § 341(a) Meeting Date:   06/24/2013
For Period Ending:   09/30/2021                                                                                       Claims Bar Date: 09/23/2013

                                  10/31/18: Filed Motion/Application to Pay Ghiglieri & Company Additional Invoices as Banking Law Expert and Litigation Consultant. 10/04/18: Third
                                  Amended Agreed Order Setting Trial and Establishing Pretrial Procedures. MSJ's due by 1/25/19 and hrg on 3/26/19. 09/04/18: Order Granting in
                                  Part and Denying in Part Motion for Reconsideration of Order Partially Granting Trustee Herendeen's Motion for Partial Summary Judgment by Regions
                                  Bank -- GRANTED on the issue of the existence of a creditor as of the date of the Subject Transfers as to Training U and DENIED as to the Court's
                                  ruling in the Summary Judgment Order as to Regions' Ninth Affirmative Defense. 07/05/18: Regions filed a Motion for Reconsideration of the order on
                                  MSJ. 07/04/18: Second Amended Order Setting Trial and Establishing Procedures entered. 06/20/18: Memorandum Opinion entered granting in part
                                  and denying in part Plaintiff's Motion for Summary Judgment (Count IV denied in part & granted in part; Count VII denied; Granted on the issue of good
                                  faith as to 9th Aff Defense; grant on 12th Aff Defense). 04/13/18: Mediation held with Regions – no agreement reached. 01/02/18: Agreed order (in
                                  part) entered on Moton to Amend ADV complaints v Regions and Amended Complaints filed. 11/16/17: Motion to Amend ADV Complaints v Regions
                                  filed in connection with all of the 16 cases. 09/21/17: Motions for Summary Judgment v Regions filed in 4 of the 16 ADV proceedings. 06/12/17:
                                  Litigation pending in Regions ADV (discovery stage). 03/09/17: Litigation pending in Regions ADV (discovery stage). 12/10/16: Litigation pending in
                                  Regions ADV (discovery stage). 09/09/16: Order entered approving compromise with Synovus. Synovus adversaries dismissed. All applications for
                                  compensation in connection with Synovus settlement approved (Berger Singerman, Yip, Welch). Mtn to dispose of records granted (after 30 days) and
                                  reimbursement of storage expenses approved. 06/02/16: MDT / Traina compromise funded w/allocation among the 10 entities involved in MDT sale.
                                  Applications for comp approved & paid (Berger Singerman). 02/01/16: 11th Circuit upheld the court's ruling, approving the MDT / Traina compromise
                                  order (Regions appeal to District Court - upheld, then 11th Circuit Court). 07/03/15: Synovus & Regions Adversary proceedings to be jointly
                                  administered, lead cases determined, discovery underway. Case Mgt reports filed. 04/04/15: Regions filed a Notice of Appeal of MD court decision,
                                  affirming the bankruptcy court, to the 11th Circuit. 04/04/15: Anne Mongeulluzzi appeal of MDT / Traina compromise dismissed for lack of prosecution.
                                  03/16/15: Mediation with Regions in JAX per agreement (2/2 hrg) and subsequent order entered by the court. No agreement reached. 01/30/15: ADV
                                  proceedings filed against Regions in all corp cases & remainder of ADV proceedings filed against Synovus (all corp cases). 11/25/14: Regions filed a
                                  counterclaim against Trustee Herendeen in Mongelluzzi ADV similar to Synovus counterclaim) seeking declaratory relief. 10/31/14: ADV proceedings
                                  filed against Synovus in 7 of the related corporate cases; additional complaints to be filed at a a future date. 09/05/14: Joinder by 16 Est filed in
                                  Mongelluzzi MTD re Synovus counterclaim. HRG on both MTD's on 9/30/14. 08/25/14: MTD filed by 16 corp estates re Synovus counterclaim in
                                  Mongelluzzi v Synovus ADV pro. 08/07/14: Anne Mongelluzzi filed appeal re Order approving MDT / Traina compromise. 07/23/14: District Court in
                                  Mongelluzzi v Synovus action remanded the case to the bankruptcy court (ADV 8:14-ap-00645-CED). 07/17/14: Attended mediation with Mongelluzzi
                                  group and Synovus per their district court order and our voluntary participation in same. 07/11/2014: Synovus filed counterclaim against 16 corporate
                                  estates in the Mongelluzzi District Court action. 07/08/14: Regions filed appeal re Order approving MDT / Traina compromise. 05/22/14: Order
                                  entered approving compromise with MDT / Traina. 03/22/14: Motion for Extension of Time to File Inter-Company Claims filed and granted (60
                                  additional days to June 20, 2014). Motion to Approve Compromise re settlement with MDT / Traina / True Blue filed and set for hearing on 4/14 along
                                  with Motion to Modify Compensation Agreement of Berger Singerman (part contingency / part hourly). Court approved employment of Andrea Bauman
                                  as CPA for taxes and court approved employment of Yip and Associates as forensic accountant. Final vehicle has been sold at auction in YJNK II
                                  related case with app for comp filed and all Bills of Sale filed. 01/31/14: MDT / Traina / True Blue Settlement Agreement approved and signed by all
                                  parties / estates. Motion to Approve Compromise to be filed. Other causes of action filed by Mongelluzzi estate; under review by counsel in the
                                  corporate cases. 12/09/13: Attended hearing on Motion to Approve Disposal of Records. Hearing continued to 2/10/13. 11/21/13: Attended 2004
                                  with MDT / Mike Trainia in Oct and mediation in Nov. No settlement and ADV Complaint filed on 11/20/13. 10/01/13: Agreed Motions for 2004 Exams
                                  of Michael Traina, MDT, & True Blue filed, orders granting same enterered & Notices of 2004 Exams filed. Demand letters sent to certain third parties.
                                  08/15/13: Letters sent to various parties requesting turnover of records to various holders of company financial records. 07/29/13: 341 Mtgs held and
                                  concluded. 07/15/13: Order entered approving employment of counsel for the Estate.
      Initial Projected Date Of Final Report (TFR):         05/24/2015                                Current Projected Date Of Final Report (TFR):              10/31/2022
                                                                  Case 8:13-bk-06888-CED               Doc 187            Filed 10/08/21              Page 5 of 10

                                                                                          Form 2
                                                                                                                                                                                                          Page: 2-1
                                                                          Cash Receipts And Disbursements Record
Case No.:                        8:13-bk-06888-CED                                                               Trustee Name:                        Christine L. Herendeen (290278)
Case Name:                       ORGANIZED CONFUSION LLP                                                         Bank Name:                           Mechanics Bank
Taxpayer ID #:                   **-***6283                                                                      Account #:                           ******7466 Checking Account
For Period Ending:               09/30/2021                                                                      Blanket Bond (per case limit):       $30,832,000.00
                                                                                                                 Separate Bond (if applicable):       N/A

    1            2                                   3                                                            4                                                5                     6                     7

  Trans.    Check or                       Paid To / Received From                           Description of Transaction                        Uniform          Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                                                                           Tran. Code          $                       $

 10/03/16     {3}        Synovus Financial Corp. o/b/o Synovus Bank        Settlement funds pursuant to Order Granting Mtn to Approve          1241-000            298,125.00                                   298,125.00
                                                                           Settlement Agmt with Synovus Bank (Doc. No. 130)(Ref para#
                                                                           4 re equal allocation among 16 corp estates). clh
 10/04/16     101        Berger Singerman LLP                              Pmt of attorney's fees per to Order Awarding First and Final        3210-000                                  104,343.75             193,781.25
                                                                           App for Comp re Synovus settlement (Doc. No. 132) & Order
                                                                           Granting Mtn to Approve Settlement Agmt w/Synovus Bank
                                                                           (Doc. No. 130). clh
 10/04/16     102        Berger Singerman LLP                              Pmt of attorney's exp per to Order Awarding First and Final App     3220-000                                       4,240.50          189,540.75
                                                                           for Comp re Synovus settlement (Doc. No. 132) & Order
                                                                           Granting Mtn to Approve Settlement Agmt w/Synovus Bank
                                                                           (Doc. No. 130). clh
 10/04/16     103        Yip Associates                                    Forensic acct fees/exp awarded pursuant to Order Awarding           3410-000                                      19,142.00          170,398.75
                                                                           First Interim App for Comp (Doc. No. 134). clh
 10/04/16     104        Yip Associates                                    Forensic acct fees/exp awarded pursuant to Order Awarding           3420-000                                        191.30           170,207.45
                                                                           First Interim App for Comp (Doc. No. 134). clh
 10/07/16     105        Angela Welch, Trustee                             Admin Exp under 503(b)(1)(a) awarded pursuant to Amended            2990-000                                       8,336.04          161,871.41
                                                                           Order Granting App for Allowance of Admin Exp Claim (Doc.
                                                                           No. 136). clh
 10/07/16     106        Christine L. Herendeen                            Storage expenses for records in TX pursuant to Order Granting       2410-000                                        409.64           161,461.77
                                                                           Mtn for Reimbursement of Expenses (Doc. No. 201, Able Body
                                                                           Temp Serv Inc., Case no. 13-06864, equal allocation). clh
 10/31/16                Rabobank, N.A.                                    Bank and Technology Services Fee                                    2600-000                                        292.69           161,169.08
 11/06/16     107        Mobile Shred It                                   Cost of disposal of records in TX storage unit pursuant to Order    2420-000                                         48.43           161,120.65
                                                                           Approving Expenses for Destruction of Records (Doc. No. 202).
                                                                           clh
 11/30/16                Rabobank, N.A.                                    Bank and Technology Services Fee                                    2600-000                                        246.59           160,874.06
 12/03/16     108        Catherine A. Ghiglieri and Ghiglieri &            Payment of expert witness fees pursuant to Order Granting           3991-000                                       1,386.33          159,487.73
                                                                           Motion for Approval of Monthly Payments to Ghiglieri
                                                                           Consistent with Proposed Budget (Doc. No. 139)(Inv # 8). clh
 12/30/16                Rabobank, N.A.                                    Bank and Technology Services Fee                                    2600-000                                        229.36           159,258.37
 01/31/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                    2600-000                                        244.29           159,014.08
 02/03/17     109        Catherine A. Ghiglieri and Ghiglieri &            Payment of expert witness fees pursuant to Order Granting           3991-000                                       1,107.42          157,906.66
                                                                           Motion for Approval of Monthly Payments to Ghiglieri
                                                                           Consistent with Proposed Budget (Doc. No. 139)(Inv # 9 & 10).
                                                                           clh
 02/28/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                    2600-000                                        212.67           157,693.99
 03/31/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                    2600-000                                        234.37           157,459.62


                                                                                                                                          Page Subtotals:         $298,125.00           $140,665.38


{ } Asset Reference(s)                                                                                                                                                          ! - transaction has not been cleared
                                                                  Case 8:13-bk-06888-CED               Doc 187            Filed 10/08/21           Page 6 of 10

                                                                                          Form 2
                                                                                                                                                                                                       Page: 2-2
                                                                          Cash Receipts And Disbursements Record
Case No.:                        8:13-bk-06888-CED                                                               Trustee Name:                     Christine L. Herendeen (290278)
Case Name:                       ORGANIZED CONFUSION LLP                                                         Bank Name:                        Mechanics Bank
Taxpayer ID #:                   **-***6283                                                                      Account #:                        ******7466 Checking Account
For Period Ending:               09/30/2021                                                                      Blanket Bond (per case limit):    $30,832,000.00
                                                                                                                 Separate Bond (if applicable):    N/A

    1            2                                  3                                                            4                                              5                     6                      7

  Trans.    Check or                    Paid To / Received From                              Description of Transaction                     Uniform          Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                                                                        Tran. Code          $                       $

 04/02/17     110        Catherine A. Ghiglieri and Ghiglieri &            Payment of expert witness fees pursuant to Order Granting        3991-000                                      1,013.90           156,445.72
                                                                           Motion for Approval of Monthly Payments to Ghiglieri
                                                                           Consistent with Proposed Budget (Doc. No. 139)(Inv # 11 &
                                                                           12). clh
 04/02/17     111        Catherine A. Ghiglieri and Ghiglieri &            Payment of expert witness expenses pursuant to Order             3992-000                                        31.64            156,414.08
                                                                           Granting Motion for Approval of Monthly Payments to Ghiglieri
                                                                           Consistent with Proposed Budget (Doc. No. 205)(Inv #11). clh
 04/28/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                 2600-000                                       210.48            156,203.60
 05/31/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                 2600-000                                       247.14            155,956.46
 06/30/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                 2600-000                                       224.31            155,732.15
 07/14/17     112        Catherine A. Ghiglieri and Ghiglieri &            Payment of expert witness fees pursuant to Order Granting        3991-000                                      2,280.47           153,451.68
                                                                           Motion for Approval of Monthly Payments to Ghiglieri
                                                                           Consistent with Proposed Budget (Doc. No. 139)(Inv # 13). clh
 07/31/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                 2600-000                                       215.43            153,236.25
 08/31/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                 2600-000                                       242.46            152,993.79
 09/29/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                 2600-000                                       212.72            152,781.07
 10/01/17     113        Berger Singerman LLP                              Attorney's fees/costs pursuant to Order Approving Application    3220-000                                      7,477.51           145,303.56
                                                                           for Compensation (Doc. No. 113). clh
 10/01/17     114        Berger Singerman LLP                              Attorney's fees/costs pursuant to Order Approving Application    3210-000                                      6,857.68           138,445.88
                                                                           for Compensation (Doc. No. 113). clh
 10/01/17     115        Berger Singerman LLP                              Attorney's fees/costs pursuant to Order Approving Application    3220-000                                      4,701.69           133,744.19
                                                                           for Compensation (Doc. No. 144). clh
 10/01/17     116        Berger Singerman LLP                              Attorney's fees/costs pursuant to Order Approving Application    3210-000                                      6,851.66           126,892.53
                                                                           for Compensation (Doc. No. 144). clh
 10/31/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                 2600-000                                       209.57            126,682.96
 11/30/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                 2600-000                                       182.21            126,500.75
 12/29/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                 2600-000                                       175.88            126,324.87
 01/31/18                Rabobank, N.A.                                    Bank and Technology Services Fee                                 2600-000                                       199.86            126,125.01
 02/28/18                Rabobank, N.A.                                    Bank and Technology Services Fee                                 2600-000                                       169.31            125,955.70
 03/30/18                Rabobank, N.A.                                    Bank and Technology Services Fees                                2600-000                                       181.16            125,774.54
 04/30/18                Rabobank, N.A.                                    Bank and Technology Services Fees                                2600-000                                       174.87            125,599.67
 05/31/18                Rabobank, N.A.                                    Bank and Technology Services Fees                                2600-000                                       198.73            125,400.94


                                                                                                                                       Page Subtotals:                 $0.00          $32,058.68


{ } Asset Reference(s)                                                                                                                                                         ! - transaction has not been cleared
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                                                                                               Form 2
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                                                                               Cash Receipts And Disbursements Record
Case No.:                       8:13-bk-06888-CED                                                                    Trustee Name:                      Christine L. Herendeen (290278)
Case Name:                      ORGANIZED CONFUSION LLP                                                              Bank Name:                         Mechanics Bank
Taxpayer ID #:                  **-***6283                                                                           Account #:                         ******7466 Checking Account
For Period Ending:              09/30/2021                                                                           Blanket Bond (per case limit):     $30,832,000.00
                                                                                                                     Separate Bond (if applicable):     N/A

    1            2                                 3                                                                  4                                              5                     6                      7

  Trans.    Check or                   Paid To / Received From                                    Description of Transaction                     Uniform          Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                                                                             Tran. Code          $                       $

 06/21/18     117        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness fees pursuant to Order Granting       3991-000                                       1,468.36            123,932.58
                                                                                Motion for Approval of Monthly Payments to Ghiglieri
                                                                                Consistent with Proposed Budget (Doc. No. 139 & 147)(Inv #
                                                                                14). clh
 06/29/18                Rabobank, N.A.                                         Bank and Technology Services Fees                               2600-000                                        174.35             123,758.23
 07/31/18                Rabobank, N.A.                                         Bank and Technology Services Fees                               2600-000                                        190.08             123,568.15
 08/31/18                Rabobank, N.A.                                         Bank and Technology Services Fees                               2600-000                                        183.65             123,384.50
 09/28/18                Rabobank, N.A.                                         Bank and Technology Services Fees                               2600-000                                         94.64             123,289.86
 10/31/18                Rabobank, N.A.                                         Bank and Technology Services Fees                               2600-000                                        111.46             123,178.40
 11/25/18     118        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness fees pursuant to Order Granting       3991-000                                       2,821.87            120,356.53
                                                                                Motion for Authorization to Pay Ghiglieri & Company (Doc. No.
                                                                                152 & 155)(Inv #15). clh
 11/25/18     119        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness expenses pursuant to Order            3992-000                                         44.11             120,312.42
                                                                                Granting Motion for Authorization to Pay Ghiglieri & Company
                                                                                (Doc. No. 152 & 155)(Inv #15). clh
 02/02/19     120        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness fees pursuant to Order Granting       3991-000                                       1,953.99            118,358.43
                                                                                Motion for Authorization to Pay Ghiglieri & Company (Doc. No.
                                                                                152 & 155)(Inv #16). clh
 03/13/19                Transfer Debit to Metropolitan Commercial Bank acct    Transition Debit to Metropolitan Commercial Bank acct           9999-000                                   118,358.43                     0.00
                         ******5468                                             3910015468

                                                                                   COLUMN TOTALS                                                                      298,125.00            298,125.00                    $0.00
                                                                                           Less: Bank Transfers/CDs                                                         0.00            118,358.43
                                                                                   Subtotal                                                                           298,125.00            179,766.57
                                                                                           Less: Payments to Debtors                                                                                 0.00

                                                                                   NET Receipts / Disbursements                                                      $298,125.00           $179,766.57




{ } Asset Reference(s)                                                                                                                                                             ! - transaction has not been cleared
                                                             Case 8:13-bk-06888-CED                         Doc 187            Filed 10/08/21            Page 8 of 10

                                                                                               Form 2
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                                                                               Cash Receipts And Disbursements Record
Case No.:                       8:13-bk-06888-CED                                                                     Trustee Name:                      Christine L. Herendeen (290278)
Case Name:                      ORGANIZED CONFUSION LLP                                                               Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:                  **-***6283                                                                            Account #:                         ******5468 Checking Account
For Period Ending:              09/30/2021                                                                            Blanket Bond (per case limit):     $30,832,000.00
                                                                                                                      Separate Bond (if applicable):     N/A

    1            2                                 3                                                                   4                                              5                     6                      7

  Trans.    Check or                    Paid To / Received From                                   Description of Transaction                      Uniform          Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                                                                              Tran. Code          $                       $

 03/13/19                Transfer Credit from Rabobank, N.A. acct ******7466    Transition Credit from Rabobank, N.A. acct 5017067466             9999-000            118,358.43                                   118,358.43
 07/01/19    1000        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness fees pursuant to Order Granting         3991-000                                      1,628.13           116,730.30
                                                                                Motion for Authorization to Pay Additional Invoices to Banking
                                                                                Law Expert Ghiglieri (Doc. No. 160)(Inv #17).
 03/31/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                        93.28            116,637.02
 04/26/20    1001        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness fees pursuant to Order Granting         3991-000                                      1,255.08           115,381.94
                                                                                Motion for Authorization to Pay Additional Invoices to Banking
                                                                                Law Expert Ghiglieri (Doc. No. 160)(Inv #19).
 04/30/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       186.42            115,195.52
 05/29/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       178.25            115,017.27
 06/30/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       196.09            114,821.18
 07/20/20    1002        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness fees pursuant to Order Granting         3991-000                                      1,025.40           113,795.78
                                                                                Motion for Authorization to Pay Additional Invoices to Banking
                                                                                Law Expert Ghiglieri (Doc. No. 160)(Inv #20).
 07/31/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       189.42            113,606.36
 08/31/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       175.52            113,430.84
 09/30/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       193.40            113,237.44
 10/30/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       180.99            113,056.45
 11/06/20    1003        Stephen Busey                                          Mediator’s fees (est share of 33.33%) pursuant to order           3721-000                                       270.69            112,785.76
                                                                                granting mtn for auth to pay mediators fee (Doc. No. 184).
 11/30/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       174.44            112,611.32
 12/31/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       198.00            112,413.32
 01/29/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       174.14            112,239.18
 02/26/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       167.89            112,071.29
 03/31/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       197.58            111,873.71
 04/16/21     {4}        State of Florida Department of Financial Services      Unclaimed funds from the State of Florida.                        1229-000                5,570.16                                 117,443.87
 04/30/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       183.46            117,260.41
 05/28/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       175.40            117,085.01
 06/30/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       206.42            116,878.59
 07/30/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       187.32            116,691.27
 08/31/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       199.49            116,491.78

                                                                                                                                             Page Subtotals:         $123,928.59             $7,436.81


{ } Asset Reference(s)                                                                                                                                                               ! - transaction has not been cleared
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                                                                                  Form 2
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                                                                  Cash Receipts And Disbursements Record
Case No.:                       8:13-bk-06888-CED                                                      Trustee Name:                    Christine L. Herendeen (290278)
Case Name:                      ORGANIZED CONFUSION LLP                                                Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:                  **-***6283                                                             Account #:                       ******5468 Checking Account
For Period Ending:              09/30/2021                                                             Blanket Bond (per case limit):   $30,832,000.00
                                                                                                       Separate Bond (if applicable):   N/A

    1            2                               3                                                     4                                             5                      6                      7

  Trans.    Check or                  Paid To / Received From                      Description of Transaction                    Uniform          Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                                                             Tran. Code          $                        $

 09/30/21                Metropolitan Commercial Bank              Bank and Technology Services Fees                            2600-000                                          186.70            116,305.08

                                                                     COLUMN TOTALS                                                                    123,928.59                 7,623.51          $116,305.08
                                                                             Less: Bank Transfers/CDs                                                 118,358.43                      0.00
                                                                     Subtotal                                                                             5,570.16               7,623.51
                                                                             Less: Payments to Debtors                                                                                0.00

                                                                     NET Receipts / Disbursements                                                        $5,570.16              $7,623.51




{ } Asset Reference(s)                                                                                                                                               ! - transaction has not been cleared
                                                    Case 8:13-bk-06888-CED       Doc 187        Filed 10/08/21         Page 10 of 10

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                                                         Cash Receipts And Disbursements Record
Case No.:                  8:13-bk-06888-CED                                              Trustee Name:                 Christine L. Herendeen (290278)
Case Name:                 ORGANIZED CONFUSION LLP                                        Bank Name:                    Metropolitan Commercial Bank
Taxpayer ID #:             **-***6283                                                     Account #:                    ******5468 Checking Account
For Period Ending:         09/30/2021                                                     Blanket Bond (per case limit): $30,832,000.00
                                                                                          Separate Bond (if applicable): N/A


                                        Net Receipts:           $303,695.16
                           Plus Gross Adjustments:                    $0.00
                         Less Payments to Debtor:                     $0.00
                 Less Other Noncompensable Items:                     $0.00

                                          Net Estate:           $303,695.16




                                                                  TOTAL - ALL ACCOUNTS                        NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                                  ******7466 Checking Account                       $298,125.00           $179,766.57          $0.00

                                                                  ******5468 Checking Account                            $5,570.16                $7,623.51    $116,305.08

                                                                                                                      $303,695.16              $187,390.08     $116,305.08
